      Case 2:10-cr-20037-JWL      Document 368      Filed 04/22/15   Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF KANSAS

United States of America,

                    Plaintiff,

v.                                                          Case No. 10-20037-02-JWL


Randy J. Dyke,

                    Defendant.

                                 MEMORANDUM & ORDER

      In July 2011, a jury convicted Mr. Dyke of various drug trafficking crimes, including

conspiracy to intentionally manufacture, distribute and possess with intent to distribute more

than 50 grams of methamphetamine. The court sentenced Mr. Dyke to 235-month term of

imprisonment and the Tenth Circuit affirmed Mr. Dyke’s conviction. United States v. Dyke, 718

F.3d 1282 (10th Cir. 2013).

      Mr. Dyke’s PSR assigned him a base offense level of 34 and a criminal history category

of VI for a corresponding guideline range of 262 months to 327 months. At sentencing, the

court varied downward with respect to Mr. Dyke’s criminal history category (to a category V)

on the basis of overrepresentation and sentenced Mr. Dyke to 235 months, the low end of the

corresponding guideline range. On February 18, 2015, the court issued an order reducing Mr.

Dyke’s sentence under Amendment 782 to 210 months. As reflected in the court’s order, Mr.

Dyke’s amended offense level is 32 and, with his criminal history category of VI, the amended

guideline range is 210 to 262 months. The court, then, reduced Mr. Dyke’s sentence to the low

end of the amended range.
      Case 2:10-cr-20037-JWL       Document 368      Filed 04/22/15    Page 2 of 3




      Mr. Dyke has now filed a motion to reconsider in which he contends that the court

ignored the prior variance as to Mr. Dyke’s criminal history category and that the amended

guideline range should be based on a criminal history category of V. That criminal history

category, coupled with an amended base offense level of 32, would yield an amended guideline

range of 188 to 235 months. Mr. Dyke, then, seeks a low-end sentence of 188 months.

      The motion is denied. As the court explained in its order reducing Mr. Dyke’s sentence,

a district court may not reduce a sentence under § 3582(c)(2) “to a term that is less than the

minimum of the amended guideline range.” U.S.S.G. § 1B1.10(b)(2)(A).             The “amended

guideline range” is defined as “the guideline range that corresponds to the [amended] offense

level and criminal history category determined . . . before consideration of . . . any variance.”

U.S.S.G. § 1B1.10 cmt. 1(A) (Nov. 1, 2011). The court, then, appropriately used the amended

guideline range corresponding to the criminal history category that was calculated in Mr. Dyke’s

PSR without reference to the criminal history category variance that the court applied at Mr.

Dyke’s sentence. See United States v. Johnson, 507 Fed. Appx. 822, 823-24 (10th Cir. Jan. 22,

2013) (district court must determine eligibility for § 3582(c)(2) sentence reduction based on

guideline range before any departures were considered; amended guideline range must

correspond to criminal history category calculated in PSR rather than category to which court

departed); United States v. Valdez, 492 Fed. Appx. 895, 899-900 (10th Cir. July 31, 2012)

(district court prohibited from applying reduced criminal history category in sentence reduction

proceedings). Because the court was not authorized to sentence Mr. Dyke below 210 months—

the low end of the amended guideline range—his motion to reconsider must be denied.



                                               2
      Case 2:10-cr-20037-JWL       Document 368      Filed 04/22/15    Page 3 of 3




      IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Dyke’s motion to

reconsider order reducing sentence (doc. 364) is denied.



      IT IS SO ORDERED.



      Dated this 22nd day of April, 2015, at Kansas City, Kansas.



                                                s/ John W. Lungstrum
                                                John W. Lungstrum
                                                United States District Judge




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